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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION

 JAMES ETHRIDGE,                                   §
                                                   §
          Plaintiff,                               §
                                                   §
 v.                                                §           CIVIL ACTION NO. 3:21-cv-00306
                                                   §
 SAMSUNG SDI CO. LTD;                              §
 AMAZON.COM, INC.;                                 §
 AMAZON.COM SERVICES, INC.;                        §
 FIREHOUSE VAPORS, LLC;                            §
 MACROMALL LLC; and DOES                           §
 1-50,                                             §
                                                   §
          Defendants.                              §

      DEFENDANTS AMAZON.COM, INC.’S AND AMAZON.COM SERVICES, INC.’S
      UNOPPOSED MOTION FOR RULING ON PENDING MOTION FOR SUMMARY
                              JUDGMENT

         Defendants Amazon.com, Inc. and Amazon.com Services, Inc. (collectively, “Amazon”)

respectfully move this Honorable Court for a ruling on Amazon’s pending Motion for Summary

Judgment. In support thereof, Amazon states as follows:

         1.      This is a products-liability suit arising out of personal injuries allegedly sustained

by Plaintiff James Ethridge (“Plaintiff”) following an explosion of a lithium-ion battery on or about

November 22, 2019 in Kemah, Texas.

         2.      On March 31, 2021, Plaintiff filed suit in the 405th Judicial District Court of

Galveston County, Texas seeking damages in excess of $1,000,000.00. See Dkt. No. 1 at Exhibit

B-1, Plaintiff’s Original Petition. Plaintiff subsequently filed his First Amended Petition on June

30, 2021, also seeking damages in excess of $1,000,000. See id. at Exhibit B-5, Plaintiff’s First

Amended Petition. After Plaintiff’s voluntary dismissal of in-state defendant Firehouse Vapors,

LLC established complete diversity amongst all remaining properly joined and served parties,


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Amazon timely removed this case to the United States District Court for the Southern District of

Texas, Galveston Division on October 28, 2021 pursuant to the provisions of 28 U.S.C. §§ 1332,

1441 and 1446. See id. Plaintiff has not moved to remand the case within the time permitted by

28 U.S.C. § 1447(c).

         3.       As indicated in Amazon’s Notice of Removal, Amazon’s fully briefed Motion for

Summary Judgment remained pending in the 405th Judicial District Court of Galveston County,

Texas at the time of removal. See id. at ¶ 14. Although “[b]y operation of law, all motions pending

in state court at the time of removal remain pending as if they had been filed in federal court,”

Amazon did not attach its Motion for Summary Judgment to its Notice of Removal because the

Motion did not fall into any of the six categories of documents required by Local Rule 81. Burch

v. JPMorgan Chase Bank, N.A., 2019 WL 4919018, at *3 (N.D. Tex. Sept. 3, 2019), report and

recommendation adopted, 2019 WL 4918100 (N.D. Tex. Oct. 4, 2019).

         4.       Accordingly, through this Motion, Amazon now submits its fully briefed Motion

for Summary Judgment and respectfully moves this Honorable Court for a ruling on that pending

Motion. See Banik v. Tamez, No. 7:16-CV-00462, 2016 WL 6122729, at *3 (S.D. Tex. Oct. 20,

2016) (“[I]t is often the case that the Court must deal with motions filed in state court [following

removal]. In such cases, the Court must have access to the motions filed in state court.”). File-

stamped copies of all briefing related to Amazon’s Motion for Summary Judgment, as well as a

certified copy of the transcript from the oral-hearing on Amazon’s Motion for Summary Judgment,

are attached as follows:

          Exhibit Description

              A      Amazon’s Motion for Summary Judgment

              B      Amazon’s Texas Rule of Civil Procedure 166(d) Statement of Intent



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          Exhibit Description

              C    Notice of Oral Hearing on Amazon’s Motion for Summary Judgment

              D    Plaintiff’s Response in Opposition to Amazon’s Motion for Summary
                   Judgment or Alternatively, Request for Leave to Amend

              E    Amazon’s Reply in Support of its Motion for Summary Judgment

              F    Certified Copy of Transcript from Oral-Hearing on Amazon’s Motion
                   for Summary Judgment

                                        CONCLUSION

         Amazon’s Motion for Summary Judgment – which was fully-briefed, argued, and remained

pending before the 405th Judicial District Court of Galveston County, Texas at the time of

removal – is ripe for adjudication. Accordingly, Amazon respectfully requests that this Honorable

Court issue a ruling on Amazon’s Motion for Summary Judgment and for all other relief to which

Amazon may be justly entitled.




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                                              Respectfully submitted,

                                              MUNSCH HARDT KOPF & HARR, P.C.

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                                              ATTORNEYS FOR DEFENDANTS
                                              AMAZON.COM, INC. AND AMAZON.COM
                                              SERVICES, INC.




                             CERTIFICATE OF CONFERENCE

       In accordance with the FEDERAL RULES OF CIVIL PROCEDURE, I hereby certify that on
December 3, 2021 the undersigned counsel conferred with counsel for Plaintiff James Ethridge
via e-mail regarding the relief sought in this motion. Counsel for Plaintiff indicated that Plaintiff
does not oppose the relief sought herein.


                                                      /s/ Heriberto R. Montalvo
                                                      Heriberto R. Montalvo


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                               CERTIFICATE OF SERVICE

       In accordance with the FEDERAL RULES OF CIVIL PROCEDURE, I hereby certify that a true
and correct copy of the foregoing instrument was served on all counsel of record on this 3rd day
of December 2021, by electronic e-service.


                                                   /s/ Clifford L. Harrison
                                                   Clifford L. Harrison




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